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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION

JENNIFER SMITH,

       Plaintiff,

v.                                                Case No.: 4:24cv367-MW/MAF

FLORIDA AGRICULTURAL &
MECHANICAL UNIVERSITY
BOARD OF TRUSTEES, et al.,

     Defendants.
___________________________/

                ORDER ON APPEAL OF NON-FINAL ORDER

       This Court has considered, without hearing, Plaintiff’s pro se “Emergency

Objection to Order No. 186 and Memorandum of Law in Support,” ECF No. 190,

which this Court construes as an appeal of the Magistrate Judge’s non-final order,

ECF No. 186. In ECF No. 186, the Magistrate Judge ordered the parties to respond

by October 4, 2024, and point to a specific motion that remained pending at the time

of transfer, and to outline their discovery needs and estimations of time necessary to

complete discovery. ECF No. 186 at 10. In addition, the Magistrate Judge ordered

Defendant FAMU to respond to Plaintiff’s motion to stay this case, ECF No. 176,

no later than September 25, 2024. Id. The Magistrate Judge also granted the motion

for more definite statement, ECF No. 160, and ordered Plaintiff to file a third
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amended complaint on or before October 1, 2024. Id. It is this final action with which

Plaintiff takes issue for several reasons.

      Having considered Plaintiff’s arguments, this Court agrees the Magistrate

Judge’s order, ECF No. 186, should be vacated. In addition, notwithstanding the fact

that Plaintiff is pro se, this Court recognizes that Plaintiff is an attorney, and thus,

this Court will address all pending matters in this case moving forward. Accordingly,

this Court will address Defendant’s motion for more definite statement, ECF No.

ECF No. 160, in the first instance. However, this Court will defer ruling on the

motion pending the outcome of Plaintiff’s pending interlocutory appeal in this case

and mandamus action concerning the originating court, both before the Eleventh

Circuit. Accordingly, the Clerk shall VACATE the Magistrate Judge’s order, ECF

No. 186. Plaintiff’s request for oral argument included in her objections to the

Magistrate Judge’s order is DENIED as moot. Plaintiff’s motion to stay, ECF No.

176, is GRANTED. This case is STAYED pending resolution of Plaintiff’s

interlocutory appeal regarding Plaintiff’s motion for preliminary injunction and

Plaintiff’s mandamus action before the Eleventh Circuit. The Clerk shall

TERMINATE the pending motion for more definite statement, ECF No. 160, to be

re-gaveled once the stay is lifted.

      SO ORDERED on September 23, 2024.

                                        s/Mark E. Walker
                                        Chief United States District Judge
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